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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
                                 Alexandria, Virginia


 TWENTIETH CENTURY FOX FILM                         )
 CORPORATION, DISNEY ENTERPRISES,                   )
 INC., PARAMOUNT PICTURES                           )
 CORPORATION, UNIVERSAL CITY                        )
 STUDIOS PRODUCTIONS LLLP,                          )
 COLUMBIA PICTURES INDUSTRIES, INC.,                )
 and WARNER BROS. ENTERTAINMENT                     )
 INC.,                                              )
                                                    )
                              Plaintiffs,           )
                                                        Case No. 1:14-cv-00362-LO-IDD
                                                    )
                        v.                          )
                                                    )
 MEGAUPLOAD LIMITED,                                )
 VESTOR LIMITED,                                    )
 KIM DOTCOM,                                        )
 MATHIAS ORTMANN,                                   )
 and BRAM VAN DER KOLK,                             )
                                                    )
                              Defendants.           )

       PLAINTIFFS’ SUPPLEMENTAL RULE 7.1 DISCLOSURE STATEMENT

       Pursuant to Fed. R. Civ. P. 7.1 and Local Rule 7.1 of the Eastern District of Virginia and

to enable Judges and Magistrate Judges to evaluate possible disqualification or recusal, the

undersigned counsel of record for Plaintiffs makes the following supplemental certification

providing updated information for Plaintiff Twentieth Century Fox Film Corporation and Plaintiff

Warner Bros. Entertainment Inc. based on changed circumstances:

       1.     Twentieth Century Fox Film Corporation is a wholly-owned subsidiary of Fox

Entertainment Group LLC. Fox Entertainment Group LLC is a wholly-owned indirect subsidiary

of The Walt Disney Company, a publicly traded company. No publicly held company owns ten

percent or more of The Walt Disney Company’s stock.
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       2.     Plaintiff Warner Bros. Entertainment Inc. is an indirect wholly-owned subsidiary

of Warner Media, LLC (the successor in interest to Time Warner Inc.), which is a direct wholly-

owned subsidiary of AT&T Inc., a publicly traded corporation. AT&T Inc. has no parent company

and, to the best of Warner Bros. Entertainment Inc.’s knowledge, no publicly held company owns

ten percent or more of AT&T Inc.’s stock.



Dated: May 17, 2019                           By: /s/ Matthew L. Haws


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